
96 N.Y.2d 752 (2001)
In the Matter of FERNANDO MOREL, Appellant,
v.
BRION D. TRAVIS, as Chair of the New York State Division of Parole, Respondent.
Court of Appeals of the State of New York.
Submitted January 8, 2001.
Decided February 20, 2001.
On the Court's own motion, appeal dismissed, without costs, upon the ground that no appeal lies as of right from the unanimous order of the Appellate Division absent the direct involvement of a substantial constitutional question (CPLR 5601). Motion for leave to appeal denied. Motion for poor person relief dismissed as academic. Motion for a preference dismissed as academic.
Judge GRAFFEO taking no part.
